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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

       MONARCH AIR GROUP, LLC d/b/a                               Case No.
       MERCURY JETS, a Florida limited
       liability company, and DAVID GITMAN,

               Plaintiff,

       vs.

       JPMORGAN CHASE BANK, N.A., a foreign
       profit corporation,

             Defendant.
       _____________________________/

                                                     COMPLAINT
               Plaintiffs, MONARCH AIR GROUP, LLC (“Monarch”), a Florida limited liability

       company, and DAVID GITMAN, an individual (“Gitman”) (collectively, “Plaintiffs”), by and

       through the undersigned counsel, hereby file this Complaint against Defendant, JPMORGAN

       CHASE BANK, N.A. (“Chase” or “Defendant”), a foreign profit corporation.

                                               JURISDICTION AND VENUE
               1.       The Court has subject matter jurisdiction under 28 U.S.C. §1332, as the Plaintiffs

       are citizens of the State of Florida, and the Defendant is a foreign corporation, and the amount in

       controversy exceeds $75,000.00, exclusive of interest, attorney’s fees, and costs.

               2.       Venue is proper in the Southern District Court of Florida, Fort Lauderdale Division

       under 28 U.S.C. § 1446(a) as the District where the Plaintiffs reside or do business and where the

       cause of action arose.

               3.       Plaintiff, MONARCH AIR GROUP, LLC, d/b/a MERCURY JETS, is a Florida

       limited liability company with its principal place of business in Broward County, Florida, and is a

       Florida citizen.


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               4.       Plaintiff, DAVID GITMAN, is a sui juris individual doing business in Broward

       County, Florida, and is a citizen of Florida.

               5.       Defendant, JPMORGAN CHASE BANK, N.A., is a citizen of Ohio.

               6.       All conditions precedent to the institution, maintenance, and prosecution of this

       lawsuit have been performed, excused, waived, or have otherwise occurred.

                                                GENERAL ALLEGATIONS
               7.       Monarch is in the business of (a) providing on-demand, private aircraft charter

       services in Florida and across the globe; (b) providing aircraft management services to aircraft and

       fleet owners; (c) providing mission critical supplies to United States and non-governmental entities

       throughout the world; (d) providing aircraft acquisition and management services; and

       (e) providing specialized aviation solutions.

               8.       Accordingly, Monarch transacts business with customers throughout the United

       States and the world.

               9.       Monarch owns and controls several bank accounts for the purposes of transacting

       business with its customers. Gitman is a principal of Monarch and also owns and controls bank

       accounts for purposes of transacting business and paying non-commercial expenses, like paying

       his family’s home mortgage, through wire payment orders. Monarch accepts payments from its

       customers via wire payment orders in exchange for Monarch’s services.

               10.      Chase is one of the largest consumer banks in the world with over 5,100 branches

       in the United States alone.

               11.      Monarch and Gitman held and owned bank accounts at Chase until Chase

       unilaterally closed their accounts in the end of 2019.

               12.      Many of Monarch’s customers hold, own bank accounts at, and conduct their

       consumer banking affairs with Chase. Many of the individuals and businesses to who Gitman must

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       process payments also own bank accounts and conduct their consumer banking affairs with Chase,

       including his family’s home mortgage.

               13.      In or around July 2020, Chase placed Plaintiffs on their internal interdiction list and

       began unreasonably cancelling wire payment orders placed by their customers or to their

       mortgagee who had contractual relationships with Chase to fulfill such payment orders to or from

       the Plaintiffs. The Plaintiffs are the intended third-party beneficiaries of Chase’s contractual duty

       to carry out these wire payment orders to or from Plaintiffs.

               14.      Plaintiffs repeatedly contacted Chase to ascertain the reason(s) behind Chase’s

       repeated rejections of the wire payment orders to or from the Plaintiffs.

               15.      Notwithstanding Plaintiffs’ repeated inquiries, Chase failed to provide a cognizable

       rationale for its repeated rejections.

               16.      It was ultimately unearthed that Chase placed Plaintiffs on their interdiction list

       because, after Gitman acquired and built Monarch’s private jet brokering business, the Plaintiffs

       were targeted in 2019 by a sensationalist political blog because Monarch’s previous owners were

       convicted of crimes well after they cut all ties with Monarch (“Blog Post”).

               17.      The author of the Blog Post recanted the contents of the Blog Post, removed the

       Blog Post, admitted he had no evidence for the accusations made and that the Blog Post is false,

       and apologized. Nevertheless, based on this unverified Blog Post, Chase put Plaintiffs on their

       interdiction list and cancelled wire payment orders to and from the Plaintiffs.

               18.      Chase’s interdiction list is managed by its GFIU department. As the reason for the

       GFIU’s rubber-stamped request to place Plaintiffs on the interdiction list and then cancel wire

       payment orders, the only disclosable grounds for same was the Blog Post.




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               19.      But rather than just use the anyways false and unsupported content of the Blog Post,

       the GFIU came up with entirely new lies about the Plaintiffs. In particular, the GFIU falsely made

       up (i) that monies Monarch sent between entities could have been involved in potential interference

       with the 2016 US Presidential Election and (ii) that during a trial of non-parties, a US judge stated

       that in addition to their legitimate activities as airline companies, that Monarch was also used as a

       front for the Russian Mafia to launder money and traffic drugs.

               20.      This outlandish election-interference accusation was even too much for the political

       Blog Post to include, yet Chase’s GFIU conjured up and then relied upon this false accusation and

       maintained that it was the Blog Post who identified Monarch as the subject of these accusations.

       The Blog Post contains no such allegations.

               21.      Nor did Chase do anything to corroborate or verify the actual content of the Blog

       Post, which fallaciously claimed that a judge said Monarch is a Russian Mafia front. Chase’s own

       guidelines require that there be a corroborated open-source negative media (e.g. U.S. Dept. of

       Justice indictment or plea deal agreement) that includes allegations of money laundering, terrorist

       financing, corruption, or embezzlement for the individual or entity in question.

               22.      Had Chase done even a modicum of corroboration, Chase would have discovered

       that no judge said anything of the sort. Rather, the Blog Post was merely misquoting an attorney

       who made that accusation during his argument to the judge about when Monarch was owned by

       another individual in 2009-2011 and which attorney, also, made clear back in 2013 that he was

       wrong in his comments and fell on his sword. The author of the Blog Post concedes that it would

       have taken someone, including Chase, a few moments to confirm the falsity of the allegations

       made in the Blog Post.




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               23.      Nonetheless, 7 years later, despite having no support or verification of anything in

       the Blog Post or the ensuing GFIU request, Chase placed Plaintiffs on its interdiction list and began

       to cancel confirmed wire payment orders to or from Plaintiffs. While Chase maintains that it does

       not and cannot reevaluate Plaintiffs’ placement on the interdiction list and ongoing cancellations

       of wire payment orders, Chase has done so for large client actually engaging in unlawful activity

       facilitated through wire transfers and cash payments through their Chase accounts.

               24.      Plaintiffs have retained the undersigned attorneys to prosecute this lawsuit on their

       behalf and are required to pay said attorneys a reasonable fee for their services.

                                               Count I
                          CHASE’S BREACH OF CONTRACT IN VIOLATION OF THE UCC
               25.      Plaintiffs reallege and reincorporate the allegations in paragraphs 1 through 24 as

       if fully set forth herein.

               26.      Chase entered into binding contractual relationships with the senders and recipients

       of the wires to and from Plaintiffs, the terms of which are administered, in part, by Florida’s

       Uniform Commercial Code.

               27.      Plaintiffs are intended third party beneficiaries of these contractual relationships

       and the UCC provisions governing same.

               28.      Florida adopted portions of the UCC to predict risk with certainty involving these

       contractual relationships, to insure said risk with certainty, to adjust operational and security

       procedures, and to price funds transfer services appropriately.

               29.      Article 4A governs “funds transfers” including the wire payment orders cancelled

       by Chase to or from the Plaintiffs. Fla. Stat. § 670.102.




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                  30.   A “funds transfer” occurs when a bank customer instructs her bank—also known

       as a “receiving bank” because the bank receives the instruction—to send money to a second

       person’s bank account. Fla. Stat. § 670.104.

                  31.   The second bank is the “beneficiary's bank,” and this direction is called a “payment

       order.” Fla. Stat. §§ 670.103, 670.104.

                  32.   When a receiving bank—really, the paying bank—receives a payment order, it is

       obligated to honor the payment order unless commercially reasonable and good faith security

       procedures and grounds exist to cancel same. Fla. Stat. § 670.302.

                  33.   Chase failed to establish and maintain an commercially reasonable and good faith

       anti-money laundering compliance program as it relates to the GFIU’s placement of Plaintiffs on

       their interdiction list and cancelling the wire payment orders thereafter.

                  34.   Rather, the GFIU placed Plaintiffs on their interdiction list based on an

       uncorroborated Blog Post, which contained easily falsifiable information from almost a decade

       earlier.

                  35.   Worse still, rather than simply rely on this false and outdated information regarding

       Monarch’s business operations, the GFIU made up entirely new false things to report as its reason

       for placing Plaintiffs on its interdiction list, such as election interference.

                  36.   Because Chase failed to establish or maintain commercially reasonable and good

       faith procedures in initially placing Plaintiffs on its interdiction list – and because Chase failed to

       perform a commercially reasonable and good faith independent investigation of the particular wire

       payment orders cancelled thereafter, and simply relied on its previous deficient placement of

       Plaintiffs on the interdiction list – Plaintiffs suffered damages.




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               WHEREFORE, based on the foregoing, Plaintiffs respectfully demand judgment against

       Defendant, JP MORGAN CHASE BANK, N.A. for (a) compensatory and consequential damages,

       (b) court costs, (c) pre- and post-judgment interest, (d) punitive damages; (e) injunctive relief

       ordering Chase to honor wire payment orders to or from Plaintiffs until an independent,

       commercially reasonable and good faith determination is made regarding the particular wire

       payment order in question; and (f) any other and further relief as this Court deems just and proper.

                                                    JURY DEMAND

               Plaintiffs hereby demand a trial by jury of all issues so triable.

       Dated: April 26, 2023.



                                                                  Respectfully submitted,

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